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                                               EXHIBIT C
         Defendants’ Proposed Constructions and Citations to Evidence for Claim Terms in
                           U.S. Patent No. 6,724,435 (the “’435 Patent)


No.    Claim Terms                   Defendants’ Proposed                Defendants’ Intrinsic and
                                     Construction                        Extrinsic Evidence

1.     “individual color”            “a linear combination of colors      Declaration of Robert L. Stevenson.
                                     or color components”.               ‘435 patent, col. 1:19-21, 1:60.


2.     “without affecting the hue     Ordinary meaning                   n/a
       or the saturation of any      (incorporating the construction
       other individual color”       of “individual color”).

3.     “arbitrary interval of        Ordinary meaning.                   n/a
       integers”
4.     “characterizing”              Indefinite.                         Declaration of Robert L. Stevenson.
                                                                         ’435 Patent at 6:40-50.


5.     “Input image pixel”           “image data including an             Declaration of Robert L. Stevenson.
                                     integer row, an integer column,     ‘435 patent at 5:55-59 6:58-7:4,
                                     and color component values for      9:40-61, 11:40-26:20.
                                     each of red, green, and blue”.

6.     “Forming a corresponding      “Forming a plurality of output      Declaration of Robert L. Stevenson.
       plurality of output image     image pixels that each              ‘435 patent at 11:14-30.
       pixels having said selected   correspond to one of the
       individual color”             plurality of input image pixels
                                     that have said selected
                                     individual color in the real time
                                     digital video input image with
                                     the hue or the saturation
                                     selected to be independently
                                     changed, the output image
                                     pixels having said selected
                                     individual color”.

7.     “By performing arithmetic     Indefinite as to whether this       Declaration of Robert L. Stevenson.
       and logical operations”       clause modifies “identifying”,
                                     “changed”, or both terms.

8.     “Evaluating” and              Indefinite.                         Declaration of Robert L. Stevenson.

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       “Evaluated”                                                         ’435 Patent at 3:32-40; 4:15-33.

9.     “viewer”                          Indefinite – illustrates that     Declaration of Robert L. Stevenson.
                                         method steps are performed by
                                         a human as discussed below.       ‘435 Patent at 2:30-40, 3:50-4:32,
                                                                           4:55-5:12, 26:21-65


                                                                           Defendants object to Plaintiff’s last
                                                                           minute disclosure of a construction
                                                                           for “viewer.” Plaintiff did not
                                                                           provide the construction until March
                                                                           16, 2020, the deadline for filing
                                                                           under P.R. 4-3. Accordingly,
                                                                           Defendants were foreclosed from the
                                                                           ability to investigate and/or identify
                                                                           any extrinsic evidence that could be
                                                                           used to challenge Plaintiff’s
                                                                           construction. Plaintiff’s proposed
                                                                           construction should be stricken.
10.    As applied to Claim 17: The       Indefinite – A claim that         Declaration of Robert L. Stevenson.
       combination of method steps       “recites both a system and a      ‘435 patent at 26:21-65; see also
       and system elements in a          method for using that system” is 2:30-40; 3:50-4:32; 4:55-5:12
       single system claim:              invalid as indefinite. IPXL
       operating said master control     Holdings v. Amazon.com, 430
       device . . .;                     F.3d 1377, 1384 (Fed. Cir. 2005).
       selecting an independent
       color hue control delta value
       or an independent color
       saturation control delta value
       . . .;
       identifying a plurality of said
       input image pixels . . .;
       determining corresponding
       output image pixel values . .
       .;
       displaying a real time digital
       video output image . . .




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